Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Northern District of Ohio

Case number (If known):                                    Chapter    11
                                                                                                                                Check if this is an
                                                                                                                                     amended filing



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Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             The Bellevue Hospital


2.    All other names debtor used in the
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                1400 West Main Street
                                                Number      Street                                   Number        Street


                                                Bellevue                   OH    44811-9088
                                                City                       State Zip Code            City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                SANDUSKY
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)                    www.bellevuehospital.com




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Debtor       The Bellevue Hospital                                                             Case number (if known)
             Name


6.   Type of debtor                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                Partnership (excluding LLP)
                                                Other. Specify:      Ohio Non-Profit Corporation


7.   Describe debtor’s business:           A. Check one:
                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                None of the above


                                           B. Check all that apply:
                                                Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                 80a-3)
                                                Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C.    NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 6221


8.   Under which chapter of the            Check one:
     Bankruptcy Code is the debtor
                                                Chapter 7
     filing?
                                                Chapter 9
                                                Chapter 11. Check all that apply:
                                                                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                      insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                      4/01/25 and every 3 years after that).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                      debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                      of operations, cash-flow statement, and federal income tax return or if all of these
                                                                      documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                      chooses to proceed under Subchapter V of Chapter 11.
                                                                     A plan is being filed with this petition.
                                                                     Acceptances of the plan were solicited prepetition from one or more classes of
                                                                      creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                     The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                      Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                      Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                      Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                     The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                      Rule 12b-2.
                                                Chapter 12




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Debtor        The Bellevue Hospital                                                               Case number (if known)
              Name


9.    Were prior bankruptcy cases filed              No
      by or against the debtor within the
      last 8 years?                                  Yes. District                                   When                      Case number
                                                                                                              MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                         District                                 When                      Case number
                                                                                                              MM/DD/YYYY



10.   Are any bankruptcy cases pending               No
      or being filed by a business partner
                                                     Yes. Debtor                                                    Relationship
      or an affiliate of the debtor?
      List all cases. If more than 1, attach a               District                                                When
                                                                                                                                       MM/DD/YYYY
      separate list.

                                                             Case number, if known


11.   Why is the case filed in this              Check all that apply:
      district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                      days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                      any other district.
                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                      district.


12.   Does the debtor own or have                    No
      possession of any real property or
      personal property that needs                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                                 Why does the property need immediate attention? (Check all that apply.)
                                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                 or safety.
                                                                 What is the hazard?
                                                                It needs to be physically secured or protected from the weather.
                                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                 related assets or other options).
                                                                Other



                                                            Where is the property?
                                                                                           Number                     Street




                                                                                           City                                State       ZIP Code


                                                           Is the property insured?
                                                                No
                                                                Yes. Insurance agency

                                                                         Contact name

                                                                         Phone




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              Name



            Statistical and administrative information

13.   Debtor’s estimation of available         Check one:
      funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


14.   Estimated number of creditors                 1-49                                  1,000-5,000                         25,001-50,000
                                                    50-99                                 5,001-10,000                        50,001-100,000
                                                    100-199                               10,001-25,000                       More than 100,000
                                                    200-999


15.   Estimated assets                              $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion


16.   Estimated liabilities                         $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on      2/5/2025
                                                                      MM / DD / YYYY


                                                 /s/ Sara K. Brokaw
                                                  Signature of authorized representative of debtor
                                                                                                           Sara K. Brokaw
                                                                                                           Printed name


                                                     Title    Chief Executive Officer




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18.   Signature of attorney
                                             /s/ Richard Stovall
                                              Signature of attorney for debtor
                                                                                               Date      2/5/2025
                                                                                                         MM / DD / YYYY



                                                Richard K. Stovall
                                                Printed name

                                                Allen Stovall Neuman & Ashton LLP
                                                Firm name

                                                10 West Broad Street, Suite 2400
                                                Number          Street

                                                Columbus                                         OH              43215
                                                City                                             State           ZIP Code


                                                (614) 221-8500                                   stovall@asnalaw.com
                                                Contact Phone                                    Email address



                                                0029978                                          Ohio
                                                Bar number                                       State




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